                                   Case 24-01376-CL7                 Filed 05/24/24   Entered 05/24/24 12:58:10     Doc 96     Pg. 1 of 5



                                               1    ANTHONY J. NAPOLITANO (SBN: 227691)
                                                       anapolitano@buchalter.com
                                               2    BUCHALTER, A Professional Corporation
                                                    1000 Wilshire Boulevard, Suite 1500
                                               3    Los Angeles, CA 90017-1730
                                                    Telephone: (213) 891-0700
                                               4    Facsimile: (213) 896-0400

                                               5    DENISE H. FIELD (SBN: 111532)
                                                       dfield@buchalter.com
                                               6    BUCHALTER, A Professional Corporation
                                                    425 Market Street, Suite 2900
                                               7    San Francisco, CA 94105-2491
                                                    Telephone: (415) 227-0900
                                               8    Facsimile: (415) 227-0770

                                               9    Attorneys for secured creditor
                                                    SUB-ZERO GROUP, INC.
                                        10

                                        11                                  UNITED STATES BANKRUPTCY COURT

                                        12                                  SOUTHERN DISTRICT OF CALIFORNIA

                                        13          In re                                           Case No. 24-01376-CL7

                                        14          PIRCH, INC.,                                    Chapter 7

                                        15                            Debtor.                       RS No. BPC-001

                                        16                                                          DECLARATION OF KELLY CIULLA
                                                                                                    IN SUPPORT OF SUB-ZERO GROUP
                                        17                                                          WEST, INC.’S MOTION FOR RELIEF
                                                                                                    FROM THE AUTOMATIC STAY
                                        18
                                                                                                    [Notice of Motion, Motion and
                                        19                                                          Memorandum of Points and Authorities,
                                                                                                    Request for Judicial Notice, Declarations of
                                        20                                                          Mark Zavras, Barry Bredvik, Mark
                                                                                                    Marshall, Keene Kohrt, and Anthony
                                        21                                                          Napolitano concurrently filed]

                                        22                                                          Hearing:
                                                                                                    Date:         June 24, 2024
                                        23                                                          Time:         11:00 a.m. PDT
                                                                                                    Place:        U.S. Bankruptcy Court
                                        24                                                                        Department 1
                                                                                                                  325 West F Street
                                        25                                                                        San Diego, California 92101
                                                                                                    Judge:        Hon. Christopher B. Latham
                                        26

                                        27

                                        28
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82605896v3                               1
            L O S A N G E LE S
                                                                           DECLARATION OF KELLY CIULLA IN SUPPORT OF
                                                                     SUB-ZERO GROUP WEST, INC.’S MOTION FOR RELIEF FROM STAY
                                   Case 24-01376-CL7                  Filed 05/24/24      Entered 05/24/24 12:58:10        Doc 96      Pg. 2 of 5



                                               1                                DECLARATION OF KELLY CIULLA
                                               2           I, Kelly Ciulla, declare as follows:
                                               3           1.      I am the Affiliate President of Sub-Zero Group West, Inc. (“Sub-Zero”), a position
                                               4   that I have held since 2020. The following facts are true to the best of my own personal knowledge,
                                               5   except where stated on information and belief, and as to those facts, I believe them to be true. If
                                               6   called as a witness, I could and would testify competently to the facts set forth herein. I am over
                                               7   18 years of age. I make this Declaration in support of the Motion for Relief from the Automatic
                                               8   Stay Pursuant to 11 U.S.C. § 362 (the “Motion”) of Sub-Zero.
                                               9           2.      I am one of the custodians of Sub-Zero’s books, records, files and accounting
                                        10         ledgers relating to Pirch, which records were made at or near the time of the act, condition or event
                                        11         to which the same relate and were maintained in the regular and ordinary course of Sub-Zero’s
                                        12         business.
                                        13                 3.      I have reviewed Sub-Zero’s files concerning Pirch’s account and am familiar with
                                        14         those files. Such records or documents were prepared in the ordinary course of Sub-Zero’s business
                                        15         by a person employed by Sub-Zero who had personal knowledge of the event being recorded and
                                        16         who had a regular business duty to so record those events.
                                        17                 4.      In my capacity as Affiliate President, I am responsible for end-to-end sales and
                                        18         marketing of Sub-Zero, Wolf, and Cove luxury appliances in the Southern California marketplace.
                                        19         I possess an intricate knowledge of how multi-store retail appliance locations manage inventory
                                        20         and order processing. Prior to joining Sub-Zero, I ran merchandising for 13 years from 2006 to
                                        21         2019 at Pacific Sales, a 21-location appliance retailer that is one of the largest sellers of Sub-Zero,
                                        22         Wolf, and Cove products in California and one of the largest overall appliance retailers in the United
                                        23         States. As head of merchandising at Pacific Sales, I was responsible for product ordering, pricing,
                                        24         programming, marketing, and inventory management.
                                        25                 5.      In the ordinary course of business, Sub-Zero retailers will sell a particular “current”
                                        26         product somewhere between the price paid by the dealer and the manufacturer’s suggested retail
                                        27         price (“MSRP”). Sub-Zero’s obsolete products, also known “B Goods,” would be sold at either
                                        28         25% of the price paid by the dealer or 50% of the MSRP.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82605896v3                                     2
            L O S A N G E LE S
                                                                            DECLARATION OF KELLY CIULLA IN SUPPORT OF
                                                                      SUB-ZERO GROUP WEST, INC.’S MOTION FOR RELIEF FROM STAY
                                   Case 24-01376-CL7                      Filed 05/24/24        Entered 05/24/24 12:58:10              Doc 96     Pg. 3 of 5



                                               1             6.       I have reviewed the Sub-Zero Audit Report 1 attached to the concurrently filed
                                               2   Declaration of Mark Zavras in support of the Motion as Exhibit 11. The “Price” column on that
                                               3   report reflects the price to be paid or paid by Pirch to Sub-Zero for the given product. The “UMRP”
                                               4   column on that report reflects Sub-Zero’s MSRP. The “Status” column of that report reflects
                                               5   whether the particular product is “CURRENT” or “OBS,” which stands for obsolete.
                                               6             7.       I have been informed that, for Sub-Zero’s current products reflected on the Sub-
                                               7   Zero Audit Report, the report reflects an aggregate dealer price of $2,101,889.00 and an aggregate
                                               8   MSRP of $2,712,635.70.
                                               9             8.       Given that Pirch has ceased doing business as a going concern, and based upon my
                                        10         extensive 30+ years of experience in the appliance industry, I and my team at Sub-Zero anticipate
                                        11         that these goods would net no more than 50 to 75% of MSRP through a liquidation process
                                        12         depending on the specific goods sold. Applying this discount percentage to the current products
                                        13         reflected on the Sub-Zero Audit Report would result in a range of $1,356,317.85 to $2,034,476.78.
                                        14                   9.       For the obsolete products (also known as the “B Goods”), I have been informed that
                                        15         the Sub-Zero Audit Report reflects an aggregate dealer price of $1,022,525.00 and an aggregate
                                        16         MSRP of $1,378,582.00. After applying the anticipated obsolete product realization percentages
                                        17         (as noted above), the value of those goods on resale would be in the range of $689,291.00 to
                                        18         $766,893.75.
                                        19                   10.      Similar to the closed-box obsolete “B Goods,” the open-box display units would be
                                        20         sold for a significant discount. Given that these are open-stock products that have been used (for
                                        21         up to three years) in Pirch’s showrooms, I and my team anticipate that these goods would net no
                                        22         more than 50% of the dealer price.
                                        23                   11.      I have also reviewed the Display Unit Report attached to the concurrently filed
                                        24         Declaration of Mark Zavras in support of the Motion as Exhibit 12. I have been informed that the
                                        25         Display Unit Summary Report reflects a total dealer price of $1,396,761.00 and a total display unit
                                        26         price of $907,894.64 for both consignment and non-consignment goods. I have also been informed
                                        27         that the Display Unit Summary Report reflects that the consignment goods, which are still owned
                                        28         1
                                                       Capitalized terms not defined herein shall have the meaning given to them in the Motion.
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82605896v3                                             3
            L O S A N G E LE S
                                                                                DECLARATION OF KELLY CIULLA IN SUPPORT OF
                                                                          SUB-ZERO GROUP WEST, INC.’S MOTION FOR RELIEF FROM STAY
                                   Case 24-01376-CL7                    Filed 05/24/24   Entered 05/24/24 12:58:10           Doc 96   Pg. 4 of 5



                                               1   by Sub-Zero, have a total dealer price of $686,349.00 and a total display unit price of $446,126.85,
                                               2   which leaves a balance for the non-consignment goods of $710,412.00 at the dealer price and
                                               3   $461,767.80 at the display unit price. Applying the 50% realizable recovery amount to the non-
                                               4   consignment display unit goods leads to a resale value of approximately $355,206.00.
                                               5           12.     It is my understanding that Pirch did not, in the ordinary course of business,
                                               6   specifically designate a unit as a particular customer’s unit. I also understand that Pirch does not
                                               7   order products on a customer-by-customer basis. Ordering was accomplished by establishing run
                                               8   rates on a monthly and quarterly basis and then ordering the products in bulk based on need and
                                               9   run rate. If Pirch sold thirty of a particular model a month, they would generally maintain an
                                        10         inventory of thirty units of that model in stock on a continuous basis.
                                        11                 13.     It is my understanding that Pirch would deliver products as needed and then order
                                        12         to replenish the stock to maintain the going rate inventory level. It is also my understanding that
                                        13         this stored inventory is not customer specific and items are not specifically designated on a
                                        14         customer-by-customer basis. This method would allow Pirch to have stocked product on hand and
                                        15         readily available.
                                        16                 14.     Pirch is one of many dealers and retailers that sold appliances to consumers on
                                        17         behalf of Sub-Zero. Consumers are able to buy products consisting of the Inventory Collateral and
                                        18         the Display Units from any of several retailers that operate within the Southern California region
                                        19         and sub-markets where Pirch operated its Showrooms.
                                        20                 15.     Both Pacific Sales and Fergusons operate showrooms in proximity to the Pirch
                                        21         showrooms. Additionally, Universal Appliance and Kitchen Center (Costa Mesa, Los Angeles,
                                        22         and San Fernando Valley), Aztec Appliance (San Diego) and WDC Kitchen and Bath Centers (Los
                                        23         Angeles, San Fernando Valley, and Palm Springs) operate showrooms near some of the Pirch
                                        24         locations.
                                        25                 16.     None of the Inventory Collateral or Display Units constitute unique or customizable
                                        26         goods. Sub-Zero does not offer customization on any of its products.
                                        27                 17.     Prior to the Petition Date, Sub-Zero established a rebate program for consumers
                                        28         impacted by Pirch’s abrupt shutdown and failure to deliver product, in an attempt to mitigate some
          BUCHALTER
A P R O F E S S I ON A L C OR P OR A T I O N       BN 82605896v3                                    4
            L O S A N G E LE S
                                                                              DECLARATION OF KELLY CIULLA IN SUPPORT OF
                                                                        SUB-ZERO GROUP WEST, INC.’S MOTION FOR RELIEF FROM STAY
                        Case 24-01376-CL7               Filed 05/24/24     Entered 05/24/24 12:58:10         Doc 96     Pg. 5 of 5




                                 1   of the damage borne by those consumers. This program is expected to cost Sub-Zero between $3

                                 2   million and $4 million.

                                 3            18.    Once Sub-Zero can effectively ascertain the entire universe of affected consumers

                                 4   and the extent of their claims, as well as recover its inventory, Sub-Zero will have a greater ability

                                 5   to assist consumers in mitigating their losses.

                                 6           I declare under the penalty of perjury under the laws of the United States of America that

                                 7   the foregoing is true and correct. Executed on May 23, 2024 at Costa Mesa, California.

                                 8

                                 9

                            10

                            11

                            12

                            13

                            14

                            15

                            16

                            17

                            18

                            19

                            20

                            21

                            22

                            23

                            24

                            25

                            26

                            27

                            28
      BUCHALTER
A P1mrus10,AL COl!.PORATIO.'.I       BN 82605896v3                                     5
        Los A!<.CEL[S
                                                              DECLARATION OF KELLY CIULLA IN SUPPORT OF
                                                        SUB-ZERO GROUP WEST, INC.'S MOTION FOR RELIEF FROM STAY
